WIED AO 187 (Rev. 7/87) Exhibit and Witness List



                                                  UNITED STATES DISTRICT COURT
                                                                 EASTERN DISTRICT OF WISCONSIN


                              Chaunte Ott
                                                                                                                  EXHIBIT AND WITNESS LIST
                                        V.
                  City of Milwaukee, et al.,                                                                           Case Number: 09-C-0870

PRESIDING JUDGE                                                        PLAINTIFF’S ATTORNEY                                  DEFENDANT’S ATTORNEY
 Honorable Rudolph T. Randa                                            Jon Loevy                                              Jan Smokowicz
TRIAL/HEARING DATE (S)                                                 COURT REPORTER                                        COURTROOM DEPUTY
 March 23, 2015
 PLF.      DEF.       DATE         OBJECTIONS/
                                                      ADMITTED                                             DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.       OFFERED        RULINGS
                                                                       DNA Report Dated August 31, 1995 for Lab Case No R95-3074 Regarding Corrected Reports of
   1                                                                   Laboratory Findings
                                                                       DNA Report dated September 16, 2009 for Lab Case R95-3074 Regarding Jessica Payne
   2
                                                                       DNA Report Case Log Entry Dated May 23, 2003 for Lab Case R95-3074 Regarding Jessica Payne
   3
                                                                       DNA Report Dated September 27, 1995 for Lab Case No. R95-3074 Regarding Jessica Payne
   4

                                                                       DNA Report Dated November 2, 1995 for Lab Case No. R95-3074 Regarding Jessica Payne
   5

   6
                                                                       DNA Report Dated May 22, 2003 for Lab Case No. R95-3074 Regarding Jessica Payne

                                                                       DNA Report Dated September 25, 2002 for Lab Case No. R95-3074 Regarding Jessica Payne
   7

   8                                                                   DNA Report Dated June 5, 2003 for Lab Case No. R95-3074 Regarding Jessica Payne

   9                                                                   DNA Report Dated August 31, 1995 for Lab Case No. R95-2307 Regarding Tanya Miller

  10
                                                                       DNA Report Dated September 15, 2009 for Lab Case No. R95-2307 Regarding Tanya Miller


  11                                                                   DNA Report Dated June 2, 2009 for Lab Case No. R95-2307 Regarding Tanya Miller

  12                                                                   DNA Report Dated July 5, 2007 for Lab Case No. R07-1497 Regarding Ouithreaun Stokes

                                                                       DNA Report Dated May 19, 2009 for Lab Case No. R07-1497 Regarding Ouithreaun Stokes
  13

                                                                       DNA Report Dated May 18, 2009 for Lab Case No. R07-1497 Regarding Ouithreaun Stokes
  14

                                                                       DNA Report Dated June 1, 2010 for Lab Case No. R07-1497 Regarding Ouithreaun Stokes
  15

                                                                       DNA Report Dated July 14, 2010 for Lab Case No R07-1497 Regarding Ouithreaun Stokes
  16
                                                                       DNA Report Dated September 11, 2009 for Lab Case No. R07-1497 Regarding Ouithreaun Stokes
  17

  18
                                                                       DNA Report Dated September 15, 2009 for Lab Case No. R95-2306 Regarding Debra Harris

  19                                                                   DNA Report Dated June 2, 2009 for Lab Case No. R95-2306 Regarding Debra Harris

  20                                                                   DNA Report Dated May 20, 2003 for Lab Case No. R97-2200 Regarding Joyce Mims

  21                                                                   DNA Report Dated May 21, 2003 for Lab Case No. R-97-2200 Regarding Joyce Mims

                                                                       DNA Report Dated September 15, 2009 for Lab Case No. R97-2200 Regarding Joyce Mims
  22
* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

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 NO.    NO.    OFFERED    RULINGS

 23                                              DNA Report Dated February 26, 2011 for Lab Case No. R97-2200 Regarding Joyce
                                                 Mims
 24                                              Case Log Dated March 31, 2003 for Lab Case R97-2200 Regarding Joyce MIms

 25                                              Case Log Dated May 23, 2003 for Lab Case R97-2200 Regarding Joyce Mims

 26                                              DNA Report Dated September 14, 2009 for Lab Case No. R92-4122 Regarding Irene
                                                 Smith
 27                                              DNA Report Dated September 15, 2009 for Lab Case No. R92-3204 Regarding Carron
                                                 Kilpatrick
 28                                              DNA Report Dated September 8, 2009 for Lab Case No. R94-3204 Regarding Carron
                                                 Kilpatrick
 29                                              DNA Report Dated September 16, 2009 for Lab Case No. R95-1488 Regarding Florence
                                                 McCormick
 30                                              DNA Report Dated March 11, 2011 for Lab Case No. R95-1488 Regarding Florence
                                                 McCormick
 31                                              DNA Report Dated June 1, 2009 for Lab Case No. R95-1488 Regarding Florence
                                                 McCormick
 32                                              DNA Report Dated September 21, 2009 for Lab Case No. R95-2305 Regarding Sheila
                                                 Farrior
 33                                              DNA Report Dated June 29, 2009 for Lab Case No. R95-2305 Regarding Sheila Farrior


 34                                              DNA Report Dated May 1, 2010 for Lab Case No. R98-1017 Regarding Maryetta Griffin


 35
                                                 DNA Report Dated June 16, 2010 for Lab Case No. R98-1017 Regarding Maryetta
                                                 Griffin
 36                                              Police Report by Detective Eric Moore Dated January 9, 1996 Regarding Proposal for
                                                 Submission of Evidence to FBI Lab for DNA Analysis
 37                                              Photo of Walter Ellis
 38                                              State of Wisconsin Claims Board Decision Dated May 14, 2010
 39                                              Wisconsin State Crime Laboratory File for Case R97-2200 (Joyce Mims)

 40                                              Wisconsin State Crime Laboratory File for Case R95-3073 (Jessica Payne)

 41                                              Wisconsin State Crime Laboratory File for Case R94-3809 (Debra Maniece)

 42                                              Wisconsin State Crime Laboratory File for Case R95-3148 (Jacqueline Jones)

 43                                              Wisconsin State Crime Laboratory File for Case R98-1017 (Maryetta Griffin)

 44                                              Wisconsin State Crime Laboratory File for Case R92-4122 (Irene Smith)

 45                                              Wisconsin State Crime Laboratory File for Case R94-3204 (Carron Kilpatrick)

 46                                              Wisconsin State Crime Laboratory File for Case R95-2307 (Tanya Miller)

 47                                              Wisconsin State Crime Laboratory File for Case R97-4181 (Shameika Carter)

 48                                              Wisconsin State Crime Laboratory File for Case R94-3357 (Ophelia Preston)

 49                                              Wisconsin State Crime Laboratory File for Case R95-1488 (Florence McCormick)


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 50                                              Wisconsin State Crime Laboratory File for Case R93-4045 (Mary Lee Harris)

 51                                              Wisconsin State Crime Laboratory File for Case R95-2036 (Debra Harris)

 52                                              Wisconsin State Crime Laboratory File for Case R95-1497 (Ouithreaun Stokes)

 53                                              Wisconsin State Crime Laboratory File for Case R95-2035 (Sheila Farrior)

 54                                              Memorandum from Wisconsin State Crime Lab to Milwaukee Police Department Dated
                                                 April 28, 2009 Regarding DNA Database Hits
 55                                              Memorandum from Wisconsin State Crime Lab to Milwaukee Police Department Dated
                                                 April 28, 2009 Regarding DNA Database Hits
 56                                              Memorandum from Wisconsin State Crime Lab to Milwaukee Police Department Dated
                                                 May 8, 2009 Regarding DNA Database Hits
 57                                              Memorandum from Wisconsin State Crime Lab to Milwaukee Police Department Dated
                                                 May 18, 2009 Regarding DNA Database Hits
 58                                              Memorandum from Wisconsin State Crime Lab to Milwaukee Police Department Dated
                                                 October 26, 2009 Regarding DNA Database Hits
 59                                              Letter from ADA Mark Williams to Wisconsin Regional Crime Lab Dated May 15, 2002
                                                 Regarding DNA Results for Jessica Payne
 60                                              Letter from Wisconsin State Crime Lab to Chief Arthur Jones Dated July 17, 2003
                                                 Regarding Corrected DNA Report for Lab Case No. R95-3074 Dated June 5, 2003
 61                                              Correspondence Between John Pray and ADA Mark Williams Regarding DNA Testing

61-1                                             January 29, 2002 Letter from Pray to Williams
61-2                                             February 11, 2002 Letter from Williams to Pray
61-3                                             February 26, 2002 Letter form Pray to Williams
61-4                                             March 5, 2002 Letter from Wisconsin Innocence Project to Ott
61-5                                             March 16, 2002 Letter from Pray to Williams
61-6                                             April 26, 2002 Letter from Pray to Williams
61-7                                             October 10, 2002 Letter from Williams to Pray
61-8                                             December 2, 2003 Letter from Wisconsin Innocence Project to Ott
61-9                                             October 25, 2004 Letter from Wisconsin Innocence Project to Ott

61-10                                            October 25, 2004 Letter from Pray to Williams

61-11                                            January 24, 2006 Letter from Pray to Williams

61-12                                            March 16, 2006 Letter from Pray to Williams

61-13                                            March 16, 2006 Letter from Pray to Ott
61-14                                            August 22, 2007 Letter from Pray to Williams
61-15                                            Undated Letter from Chaute Ott attached to Innocence Assessment Form

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61-16                                            Claim of Innocence Assessment Form
 62
                                                 Letter from VICAP to MPD Dated January 13, 1995 Regarding Crime Analysis Report


 63                                              Timeline of Events: DNA Matches in Homicide Cases
 64                                              Addenda to Cold Case Press Conference Dated September 7, 2009 Regarding DNA
                                                 Linked Cold Case Homicides 1986-2009
 65                                              Affidavit and CV of Deanna Lankford Dated March 28, 2013
 66                                              Affidavit of Mark Williams Dated July 26, 2012
 67                                              Affidavit of Daniel Haase Dated April 4, 2013
 68                                              Affidavit of Lew Wasserman Dated September 28, 2012
 69                                              Affidavits of John Pray Dated October 2, 2007 and October 16, 2008

 70                                              Expert Report and CV of Michael J. Spierer, Ph.D.
 71                                              Expert Report and CV of Dennis Waller Dated March 28, 2013
 72                                              MPD M-File for Jessica Payne Homicide Investigation
72-1                                             Section 1 - Offense Report and Clearance Report
72-2                                             Section 2 - Status Card and Case Summary
72-3                                             Section 3 - Index to Homicide
72-4                                             Section 4 - Investigative Reports




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72-5
                                                  Supplementary Report Regarding Search of Garbage Containers and Neighborhood
                                                  Canvas on August 30, 1995
72-6
                                                  Supplementary Report Regarding Search of Garbage Containers and Neighborhood
                                                  Canvas on August 30, 1995
72-7
                                                  Supplementary Report Regarding Initial Response to Report of Body on August 30, 1995

                                                  Supplementary Report Regarding Search of Garbage Containers and Neighborhood
72-8
                                                  Canvas on August 30, 1995
                                                  Supplementary Report Regarding Interviews with William Steward, Martha Ellis, and
72-9
                                                  Kimberly Evans on August 30, 1995

72-10                                             Supplementary Report Regarding Parked Vehicles on August 30, 1995
                                                  Supplementary Report Regarding Neighborhood Canvas and Interview of Nyree
72-11
                                                  Saunders on August 30, 1995
72-12                                             Supplementary Report Regarding Neighborhood Canvas on August 30, 1995

72-13                                             Supplementary Report Regarding Interview of Jerome Hoskins on August 30, 1995

72-14
                                                  Supplementary Report Regarding Processing of the Crime Scene on August 30, 1995

72-15                                             Supplementary Report Regarding Neighborhood Canvas on August 30, 1995

72-16                                             Supplementary Report Regarding Interview of Martha Sue Ellis on August 30, 1995

 72-17                                            Supplementary Report Regarding Interview of Patricia A. Moore on August 30, 1995

 72-18                                            Supplementary Report Regarding Interview of Joy A. Nellum on August 30, 1995

                                                  Supplementary Report Regarding Interview of Calbrina D. Martin on August 30, 1995
72-19

                                                  Supplementary Report Regarding Neighborhood Canvas, Interviews of Bennie Harris, Donald
 72-20                                            Thompson, and Calbrina Martinon, and search for possible "junkman" Robert Wilson on August 30, 1995

72-21                                             Supplementary Report Regarding Property Owners Rigoberto and Belia Macias on
                                                  August 30, 1995
72-22                                             Supplementary Report Regarding Autopsy on August 30, 1995
                                                  Supplementary Report Regarding Interview of Tanisha L. Keith on August 30, 1995
 72-23

72-24                                             Supplementary Report Regarding Interview of Morris M. Keith on August 30, 1995

 72-25                                            Supplementary Report Regarding Interview of Kalitha M. Keith on August 30, 1995

                                                  Supplementary Report Regarding Interviews of Edward Charles Brown and Mary Brown
72-26                                             on August 30, 1995
72-27                                             Supplementary Report Regarding Interview of Cudahy Police Department Juvenile
                                                  Officer Vala Milsavezjivich on August 31, 1995
                                                  Supplementary Report Regarding Interview of Michael Payne and Search for Carolyn
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                                                  Sanders on August 30, 1995
72-29                                             Supplementary Report Regarding Interview of Roberto Macias on August 31, 1995

                                                  Supplementary Report Regarding Interviews of Bessie Thomas and Mary A. Green on
72-30
                                                  August 30, 1995
                                                  Supplementary Report Regarding Neighborhood Canvas and Interviews of Migual Angel
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                                                  Yach and Nicole Rebecca Harris on August 30, 1995

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72-32                                             Supplementary Report Regarding Interview of Melia L. Sutor on August 31, 1995

72-33                                             Supplementary Report Regarding Interviews of Jill M. Sele, Adrienne K. Superits, and
                                                  Timothy M. Superits on August 31, 1995
72-34
                                                  Supplementary Report Regarding Interview of Ginny M. Grandbois on August 31, 1995

                                                  Supplementary Report Regarding Interview of Karen D. Morrison on August 31, 1995
72-35

                                                  Supplementary Report Regarding Interview of Milwaukee Police Officer Andrew P.
 72-36
                                                  Eisenhauer on August 31, 1995
                                                  Supplementary Report Regarding Interview of Jaime Lynn Glisczinski on August 31,
72-37
                                                  1995

72-38
                                                  Supplementary Report Regarding Interview of John J. Riser on August 30, 1995

                                                  Supplementary Report Regarding Interview of Rebecca Lee Morrison on August 31,
72-39                                             1995
72-40                                             Supplementary Report Regarding Interview of Latonia Marie Cooper on August 31, 1995

72-41                                             Supplementary Report Regarding Interview of Willie Brooks on August 31, 1995

                                                  Supplementary Report Regarding Interview of Mary A. Seymer on August 31, 1995
72-42

                                                  Supplementary Report Regarding Interview of Sandra Giles on August 31, 1995
72-43

72-44                                             Supplementary Report Regarding Crime Scene Investigation on August 30, 1995

72-45
                                                  Supplementary Report Regarding Interview of Sheteaka D. Noblin on August 31, 1995

72-46                                             Supplementary Report Regarding Interview of Glenda Phillips on August 31, 1995

72-47                                             Supplementary Report Regarding Interview of Brenda Joyce Moore on August 31, 1995


72-48                                             Supplementary Report Regarding Interview of Jeanette Moffett on August 31, 1995

                                                  Supplementary Report Regarding Interview of Lisa Ann Williams on August 31, 1995
 72-49

                                                  Supplementary Report Regarding Interviews of Elvie M. Brown and Larry C. Moore on
72-50                                             August 31, 1995
                                                  Supplementary Report Regarding Interview of Donald L. Thompson on August 31, 1995
72-51

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                                                  Supplementary Report Regarding Interviews and Arrests of Delon Russel and William C.
                                                  Moore on September 2, 1995
                                                  Supplementary Report Regarding Traffic Stop of Terrance D. Wallace on September 1,
72-53
                                                  1995
72-54                                             Supplementary Report Regarding Interview of Sandra Harshaw Giles on August 31,
                                                  1995
                                                  Supplementary Report Regarding Interview of Kimberly Louise Smith on August 31,
72-55
                                                  1995
                                                  Supplementary Report Regarding Interview of Walter J.D. Moffett on September 1, 1995
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                                                  Supplementary Report Regarding Interview of Rebecca Morrison on September 1, 1995
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                                                  Supplementary Report Regarding Interview of Rebecca Morrison on September 2, 1995
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72-59                                             Supplementary Report Regarding Interviews of William C. Moore and Delon Russel on
                                                  September 2, 1995
72-60                                             Supplementary Report Regarding Interview of Delon Russel on September 2, 1995

72-61                                             Supplementary Report Regarding Interview of William C. Moore tt on September 2, 1995

                                                  Supplementary Report Regarding Inspection of Cadillac on September 2, 1995
 72-62

 72-63                                            Supplementary Report Regarding Interview of Andre Moore on September 2, 1995

                                                  Supplementary Report Regarding Interview of Carolyn S. Sanders on September 2,
 72-64
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                                                  Supplementary Report Regarding Interviews of Venus, Roy, and Bobby Henton on
 72-65                                            September 2, 1995
                                                  Supplementary Report Regarding Interview of Terrence Dion Wallace on September 3,
 72-66
                                                  1995
                                                  Supplementary Report Regarding Sexual Assault Kit of Terrance Wallace on September
72-67                                             3, 1995
                                                  Supplementary Report Regarding Processing of Cadillac Trunk on September 3, 1995
72-68

72-69                                             Supplementary Report Regarding Interview of Carolyn Sanders on September 3, 1995

72-70
 -                                                Supplementary Report Regarding Interview of Terrence Wallace on September 3, 1995

72-71                                             Supplementary Report Regarding Interview of Lakesha Miller on September 3, 1995

                                                  Supplementary Report Regarding Apprehension of Desha M. Cox on September 4, 1995
 72-72

72-73                                             Supplementary Report Regarding Interview of Sandra Giles on August 31, 1995

72-74                                             Supplementary Report Regarding Interview of Kimberly Louise Smith on September 4,
                                                  1995
72-75                                             Supplementary Report Regarding Interview of Deshay Cox on September 4, 1995

72-76                                             Supplementary Report Regarding Interview of Johnnie L. Jones on September 4, 1995


72-77
                                                  Supplementary Report Regarding Interview of Jimmy Joe Kossow on September 4, 1995

72-78                                             Supplementary Report Regarding Interview of Rebecca Morrison on September 5, 1995


 72-79                                            Supplementary Report Regarding Interview of Jerome Hoskins on September 6, 1995

                                                  Supplementary Report Regarding Interview of Keena F. Eubanks on August 31, 1995
 72-80

72-81                                             Supplementary Report Regarding Interview of Rebecca Morrison on August 31, 1995

 72-82                                            Supplementary Report Regarding Interview of David Michael Hub on August 31, 1995

                                                  Supplementary Report Regarding Interview of Stewart Wayne Watson on August 31,
 72-83
                                                  1995
                                                  Supplementary Report Regarding Interview of David Michael Hub on August 31, 1995
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                                                  Supplementary Report Regarding People Found at 2228 N 17th St. on August 31, 1995
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72-86                                             Supplementary Report Regarding Interview of Derry L. Carson on September 1, 1995

72-87                                             Supplementary Report Regarding Processing of 1985 Cadillac on September 2, 1995

72-88
                                                  Supplementary Report Regarding Interviews of Kenneth W. Czaplewski and Kathleen M.
                                                  Richmond on Septermber 3, 1995
72-89                                             Supplementary Report Regarding Interviews of Hamed Zafari and Arthur Lee Talley Jr.
                                                  on September 7, 1995
72-90                                             Supplementary Report Regarding Interview of Cudahy Police Officer Milo Milosavljevic
                                                  on September 8, 1995
72-91                                             Supplementary Report Regarding Interview of Latania Cooper on September 9, 1995

                                                  Supplementary Report Regarding Phone Call With Probation Parole Agent Scott Keene
72-92
                                                  on September 7, 1995
                                                  Supplementary Report Regarding Interview of Karen D. Morrison on September 7, 1995
72-93

                                                  Supplementary Report Regarding Interview of Darrell D. Jones on September 7, 1995
72-94

                                                  Supplementary Report Regarding Interviews of Rebecca A. Dean and Barbara J. Dean
72-95
                                                  on September 9, 1995
                                                  Supplementary Report Regarding Interview of Daniel D. Muszynski on September 9,
72-95
                                                  1995
72-97                                             Supplementary Report Regarding Interview of Shawn M. Dean on September 9, 1995

72-98                                             Supplementary Report Regarding Interview of Adam C. Erickson on September 9, 1995


72-99                                             Supplementary Report Regarding Interview of Jeffrey L. Leanna on September 9, 1995


72-100
                                                  Supplementary Report Regarding Interviews of John Riser and Willie Brooks on
                                                  September 12, 1995
                                                  Supplementary Report Regarding Interview of Geanette Moffett on September 12, 1995
72-101

72-102                                            Supplementary Report Regarding Interview of Sandra Giles on September 12, 1995

                                                  Supplementary Report Regarding Interview of Walter J.D. Moffett on September 13,
70-103
                                                  1995
72-104                                            Supplementary Report Regarding Transportation of Evidence on September 14, 1995

72-105                                            Supplementary Report Regarding Interview of Faye Camp on September 20, 1995

72-106
                                                  Supplementary Report Regarding Envelope From Probation Parole Agent Douglas
                                                  Quakkelaar Containing Rebecca Morrison Statement on September 21, 1995
                                                  Supplementary Report Regarding Interview of Walter J.D. Moffett on September 21,
72-107
                                                  1995
72-108                                            Supplementary Report Regarding Interviews of Jamada Stweart, Celia Stewart, Michael
                                                  Growth, and Sergeant Kunicki on September 21, 1995
72-109                                            Supplementary Report Regarding Interview of Lakesha Miller on September 4, 1995

                                                  Supplementary Report Regarding Interview of Inetha Waller on September 27, 1995
72-110

                                                  Supplementary Report Regarding Elimination of Suspects Per DNA on July 26, 2007
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                                                  Supplementary Report Regarding Interview of Shannon Payne on September 27, 1995
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72-113                                            Supplementary Report Regarding Interview of Gwendolyn Mayone on September 28,
                                                  1995
                                                  Supplementary Report Regarding Interview of Rhonda L. Smith on September 29, 1995
72-114

72-115                                            Supplementary Report Regarding Interview of Sandra Giles on October 2, 1995

72-116                                            Supplementary Report Regarding Interview of John Riser on October 4, 1995

72-117                                            Supplementary Report Regarding Interview of Darrol Lamar Robinson on October 5,
                                                  1995
                                                  Supplementary Report Regarding Interview of Shannon Payne on October 4, 1995
72-118

                                                  Supplementary Report Regarding Interview of Rebecca Morrison on October 5, 1995
72-119

72-120                                            Supplementary Report Regarding Interview of Latonia Cooper on October 8, 1995

                                                  Supplementary Report Regarding Interview of Tammy Lynn Manka on October 9, 1995
72-121

                                                  Supplementary Report Regarding Interview of Cassandra McMurray on October 9, 1995
72-122

                                                  Supplementary Report Regarding Interview of Sammy Joe Hadaway on October 24,
72-123
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                                                  Supplementary Report Regarding Interview of Booker Tyrone Edwards on October 24,
72-124
                                                  1995
72-125                                            Supplementary Report Regarding Interview of Theresa Gwin on October 24, 1995

                                                  Supplementary Report Regarding Sexual Assault Kit of Sam Hadaway on December 24,
72-126
                                                  1995
                                                  Supplementary Report Regarding Sexual Assault Kit of Richard Gwin on October 24,
72-127                                            1995
72-128                                            Supplementary Report Regarding Interview of Dwight Clayton on October 25, 1995

72-129
                                                  Supplementary Report Regarding Olds 88 and Interviews of Vera Waligorski and
                                                  Menomonee Falls Police Officer Stephen Rutie on October 26 1995
72-130                                            Supplementary Report Regarding Interviews of Magnolia Brown, Teresa Gwin, Melva
                                                  Gwin, and Richard Gwin Dated October 27, 1995
72-131                                            Supplementary Report Regarding Interview of Richard Gwin on October 24, 1995

                                                  Supplementary Report Regarding Interview of Richard Gwin on October 25, 1995
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72-133                                            Supplementary Report Regarding Sexual Assault Kit of Chaunte Ott on October 26,
                                                  1995

72-134                                            Supplementary Report Regarding Interview of Chaunte Ott on October 26, 1995

72-135                                            Supplementary Report Regarding Sam Hadaway on October 27, 1995

72-136
                                                  Supplementary Report Regarding Interview of Sam Hadaway on October 27, 1995

72-137                                            Supplementary Report Regarding Interview of Sam Hadaway on November 1, 1995

72-138                                            Supplementary Report Regarding Attempt to Interview Chaunte Ott on October 26, 1995

                                                  Supplementary Report Regarding Interview of Floyd Harrell on November 2, 1995
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                                                  Supplementary Report Regarding Evidence Examined By Medical Examiner Dr. Teggatz
72-140
                                                  on November 4, 1995
72-141
                                                  Supplementary Report Regarding Interview of Jenny Grangard on September 30, 1995

72-142                                            Supplementary Report Regarding Interview of Jenny Grangard on September 30, 1995

72-143                                            Supplementary Report Regarding Ameritech Phone Records on October 27, 1995

72-144                                            Supplementary Report Regarding Interview of Rebecca Morrison on November 10, 1995

                                                  Supplementary Report Regarding Execution of Search Warrant at 2433 W. Becher St.
72-145
                                                  and Interview of Victoria Griffin on November 3, 1995
72-146                                            Supplementary Report Regarding Interview of Exie Tatum on November 13, 1995

72-147                                            Supplementary Report Regarding Interview of Titus Lee Ricks on November 14, 1995


72-148
                                                  Supplementary Report Regarding Interview of Sam Hadaway on June 27, 2007

                                                  Supplementary Report Regarding Interviews of Sammy Hadaway on November 24,
72-149
                                                  2008 and January 15, 2009
                                                  Supplementary Report Regarding Interview of Booker T. Edwards on January 24, 2009
72-150

72-151                                            Supplementary Report Regarding Interview of Tasha Hadaway on January 24, 2009


72-152
                                                  Supplementary Report Regarding Interview of Elizabeth Torres on January 24, 2009

72-153                                            Supplementary Report Regarding Interview of Theresa Jones on January 25, 2009

72-154
                                                  Supplementary Report Regarding Interview of Carlos Nance on March 11, 2009

72-155                                            Supplementary Report Regarding Review of Case File and Investigation Into Robert
                                                  Herrmann Dated June 9, 2009
                                                  Supplementary Report Regarding Surveillance and Investigation of Robert Herrmann
72-156
                                                  Dated June 20, 2009

72-157
                                                  Supplementary Report Regarding Interview of Carolyn Stimpert on June 20, 2009

72-158
                                                  Supplementary Report Regarding Interview of Rebecca Morrison on June 21, 2009

72-159                                            Supplementary Report Regarding Interview of Adam Erickson on June 21, 2009

72-160                                            Supplementary Report Regarding Interview of Robert Herrmann on June 20, 2009

72-161
                                                  Supplementary Report Regarding Interviews of Dawn Pries and Michael Dembowski on
                                                  June 23, 2009
72-162                                            Supplementary Report Regarding Surveillance and Investigation of Robert Herrmann
                                                  Dated June 18, 2009
72-163                                            Supplementary Report Regarding Interview of Carolyn Stimpert on June 20, 2009

72-164                                            Supplementary Report Regarding Interview of Adam Erickson on June 21, 2009

72-165                                            Supplementary Report Regarding Interview of Rebecca Morrison on June 21, 2009

72-166                                            Supplementary Report Regarding Interview of Karen Stolpa on June 23, 2009


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92-3                                              Defendant Buschmann's Response to Plaintiff's 4th Interrogatory
 93                                               Defendant Buschmann's Responses to Plaintiff's Requests to Admit

93-1                                              Defendant Buschmann's Responses to Plaintiff's 1st Requests to Admit

93-2                                              Defendant Buschmann's Responses to Plaintiff's 2nd Requests to Admit

93-3                                              Defendant Buschmann's Responses to Plaintiff's 6th Requests to Admit

 94                                               Defendant DeValkanaere's Responses to Plaintiff's Interrogatories
94-1                                              Defendant DeValkanaere's Responses to Plaintiff's 1st Interrogatory

94-2                                              Defendant DeValkanaere's Responses to Plaintiff's 3rd Interrogatory

 95                                               Defendant DeValkanaere's Responses to Plaintiff's Requests to Admit

95-1                                              Defendant DeValkanaere's Responses to Plaintiff's 1st Requests to Admit

95-2                                              Defendant DeValkanaere's Responses to Plaintiff's 2nd Requests to Admit

95-3                                              Defendant DeValkanaere's Responses to Plaintiff's 6th Requests to Admit


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 96                                               Defendant Simons' Responses to Plaintiff's Interrogatories
 96-1                                             Defendant Simons' Responses to Plaintiff's 1st Interrogatory

 96-2                                             Defendant Simons' Responses to Plaintiff's 3rd Interrogatory
 97                                               Defendant Simons' Responses to Plaintiff's Requests to Admit
 97-1                                             Defendant Simons' Responses to Plaintiff's 1st Requests to Admit
 97-2                                             Defendant Simons' Responses to Plaintiff's 2nd Requests to Admit
 98                                               Joint Response to Interrogatory 3
 99                                               Defendant City of Chicago Responses to Plaintiff's Interrogatories
 99-1                                             Defendant City of Chicago Response to Plaintiff's 1st Interrogatory
 99-2                                             Defendant City of Chicago Response to Plaintiff's 3rd Interrogatory
 99-3                                             Defendant City of Chicago Response to Plaintiff's 4th Interrogatory

 99-4                                             Defendant City of Chicago Response to Plaintiff's 8th Interrogatory

 99-5                                             Defendant City of Chicago Response to Plaintiff's 8th Supplemental Interrogatory

 100                                              Defendant City of Chicago Responses to Plaintiff's Requests to Admit

100-1                                             Defendant City of Chicago Responses to Plaintiff's 1st Requests to Admit

100-2                                             Defendant City of Chicago Responses to Plaintiff's 2nd Requests to Admit

100-3                                             Defendant City of Chicago Responses to Plaintiff's 3rd Requests to Admit

100-4
                                                  Defendant City of Chicago Responses to Plaintiff's 4th Requests to Admit

100-5                                             Defendant City of Chicago Responses to Plaintiff's 6th Requests to Admit

 101                                              Defendant City of Chicago Responses to Plaintiff's Requests for Production

                                                  Defendant City of Chicago Response to Plaintiff's 1st Requests for Production
101-1

                                                  Defendant City of Chicago Response to Plaintiff's 3rd Requests for Production
101-2

                                                  Defendant City of Chicago Response to Plaintiff's 6th Requests for Production
101-3
                                                  Defendant City of Chicago Response to Plaintiff's 7th Requests for Production
101-4
                                                  Defendant City of Chicago Response to Plaintiff's 8th and 9th Requests for Production
101-5

                                                  Defendant City of Chicago Response to Plaintiff's 10th Requests for Production
101-6

 102                                              Defendants' Rule 26(a)(1) Disclosures

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 103                                              Letter to Defendants' Counsel Dated February 24, 2010 Regarding Initial Disclosures


 104                                              Trial Testimony of James DeValkenaere on February 27, 1996

 105                                              Trial Testimony of James DeValkenaere on February 28, 1996
 106                                              Trial Testimony of James DeValkenaere on February 28, 1996
 107                                              Trial Testimony of Latonia Cooper on February 27, 1996
 108                                              Trial Testimony of Richard Gwin on February 28, 1996
 109                                              Trial Testimony of Sam Hadaway on February 27, 1996
 110                                              Trial Testimony of Sam Hadaway on March 31, 2010
 111                                              Trial Transcript of Jury Verdict on February 29, 1996
 112                                              Trial Transcript of Preliminary Hearing on November 14, 1995
 113                                              Trial Transcript of Sentencing on March 2, 1996
 114                                              Deposition of Arthur Jones on October 19, 2011
 115                                              Deposition of Carl Buschmann Vol. 1 on June 30, 2010
 116                                              Deposition of Carl Buschmann Vol. 2 on April 12, 2012
 117                                              Deposition of Chaunte Ott on August 29, 2011
 118                                              Deposition of Daniel Phillips (Avery v. City of Milwaukee et al.) on September 17, 2012

 119                                              Deposition of Denise Ball on October 10, 2011
 120                                              Deposition of Diana Rowe on May 7, 2011
 121                                              Deposition of Eric Draeger on October 10, 2011
 122                                              Deposition of Eric Moore Vol. 1 on August 23, 2010
 123                                              Deposition of Eric Moore Vol. 2 on May 7, 2012
 124                                              Deposition of Eric Moore Vol. 3 on January 29, 2013
 125                                              Deposition of James DeValkenaere Vol. 1 on June 22, 2010
 126                                              Deposition of James DeValkenaere Vol. 2 on April 12, 2012
 127                                              Deposition of John Pray on July 13, 2012
 128                                              Deposition of Katherine Spano (Avery v. City of Milwaukee , et al.) on June 28, 2012

 129                                              Deposition of Latonia Cooper on May 13, 2011

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 130                                              Deposition of Michael Dubis on June 30, 2010
 131                                              Deposition of Michael Dubis on June 30, 2010

 132                                              Deposition of Nanette Hegerty on June 14, 2011
 133                                              Deposition of Nicole Casper on April 19, 2012
 134                                              Deposition of Percy Moore on August 23, 2010
 135                                              Deposition of Ricky Burems Vol. 1 on August 26, 2010
 136                                              Deposition of Ricky Burems Vol. 2 on March 19, 2013
 137                                              Deposition of Robert Simons on August 26, 2010
 138                                              Deposition of Sam Hadaway on May 31, 2010
 139                                              Deposition of Sandra Giles on October 1, 2011
 140                                              Burems Complaint Dated January 9, 2007
 141                                              Diagram of W. Burleigh and N. 7th Streets
 142                                              Directions from 3116 N. 7th Street to 2940 N. 5th Street, Milwaukee, WI

 143                                              MPD General Order No. 2005-13 Dated November 1, 2005 Regarding Amendment to
                                                  Standard Operating Procedure 3.560 - Property
 144                                              MPD In-Service Training Documents Session #2, November 10, 2003-January 16, 2004
                                                  Regarding Forensic Biology and DNA
 145                                              MPD In-Service Training Documents Session #3, January 20, 2003-March 14, 2003
                                                  Regarding DNA
 146                                              MPD Criminal Investigation Bureau Memorandum Dated December 24, 2002 Regarding
                                                  Change in Buccal Swab Procedures
 147                                              MPD Sensitive Crimes Division Memorandum Dated May 21, 2001 Regarding
                                                  Processing Arrested Suspects to Obtain DNA
 148                                              MPD Rule 4 - General Rules and Regulations
 149                                              MPD General Order No. 2001-31 Regarding Amendment to Rule 4
 150                                              MPD Rule 4 - General Rules and Regulations (Revised 07/08)
 151                                              MPD Standard Operating Procedure Regarding Position Responsibilities

 152                                              MPD Training Documents Dated 2005 Regarding Memo Books




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